UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE
UNITED STATES OF AMERICA )
)
V. ) 2:12-CR-58
) JUDGE GREER
ANTHONY LAMONT SINGLETON )
PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, Anthony Lamont Singleton, and the defendant’s attorney, Jeffrey
Dennis Johnson, have agreed upon the following:

1. The defendant will plead guilty to the following count(s) in the indictment:

a) Count 1, possession of a firearm after having been convicted of an offense
punishable by imprisonment for more than one year, in violation of 18 U.S.C. § 922(g)(1).

The punishment for this offense is as follows: if defendant is not determined to be an Armed
Career Criminal, up to ten years imprisonment, $250,000 fine, up to three years on supervised
release, and a $100 special assessment fee. If defendant is determined to be an Armed Career
Criminal, the punishment is as follows: a 15 year minimum mandatory up to life imprisonment, a
$250,000.00 fine, up to 5 years on supervised release, and a $100 special assessment fee.

2.  Inconsideration of the defendant’s guilty plea(s), the United States agrees to move the
Court at the time of sentencing to dismiss the remaining count(s) against the defendant in this
indictment. The United States also agrees not to further prosecute the defendant in the Eastern
District of Tennessee for any other non-tax criminal offenses committed by the defendant related to

the charges contained in this indictment.
3. The defendant has read the indictment, discussed the charges and possible defenses
with defense counsel, and understands the crime(s) charged. The defendant is pleading guilty
because the defendant is in fact guilty.

4. — In support of the defendant’s guilty plea, the defendant agrees and stipulates to the
following facts, which satisfy the offense elements. These are the facts submitted for purposes of
the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing. Both the defendant and the United States retain the right to
present additional facts to the Court to ensure a fair and appropriate sentence in this case.

On June 13, 2011, officers with the Kingsport Police Department responded to a disturbance
call at 2173 Steadman Street, Kingsport, Tennessee, within the Eastern District of Tennessee. Upon
arrival, officers learned of an altercation between defendant and persons at 2173 Steadman Street.

Following the altercation, defendant drove down to the intersection of Sycamore and Berry
Street. While responding to the call, officers encountered the black Nissan Altima at the
intersection and identified defendant. Officers performed a “‘frisk” for weapons; none were found.

After interviewing the complainants, officers asked defendant if he had a firearm in the
vehicle. Defendant responded, “No.” Officers then asked for consent to search the vehicle which
defendant granted. During the search of the trunk of the vehicle, officers found a small silver case
with a confederate flag on the lid. Inside the case, officers found seventeen .25 caliber rounds of
ammunition. Officers also noted that the foam inside the case had an indentation of a small firearm.

A search of the immediate area was conducted. Near the intersection of Sycamore Street
and Memorial Court, officers located a Phoenix Arms, Model Raven, .25 caliber semi-automatic
pistol. After recovering the firearm, officers noted that is was a perfect fit for the above-mentioned

firearm case that had been located in the vehicle. Defendant admits that he possessed the firearm.
On April 24, 2012, ATF Special Agent David Wiley determined the firearm and ammunition
were manufactured outside of the State of Tennessee, and that they have traveled in interstate
and/or foreign commerce. The firearm was determined to be a modern firearm as defined by Federal
law.

On May 28, 2003, defendant was convicted in the Criminal Court for Sullivan County,
Tennessee of aggravated assault, for which he was sentenced to three years in the Tennessee
Department of Corrections.

5. The defendant understands that by pleading guilty the defendant is giving up several
rights, including:

a) the right to plead not guilty;

b) _ the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

d) the right to be presumed innocent and to have the burden of proof placed on the
United States to prove the defendant guilty beyond a reasonable doubt;

e) the right to confront and cross-examine witnesses against the defendant;

f) the right to testify on one’s own behalf, to present evidence in opposition to the
charges and to compel the attendance of witnesses; and

g) the right not to testify and to have that choice not used against the defendant.

6. The parties agree that the appropriate disposition of this case would be the following
as to each count:

a) The Court may impose any lawful term(s) of imprisonment, any lawful fine(s),
and any lawful term(s) of supervised release up to the statutory maximum(s);

b) The Court will impose special assessment fees as required by law; and
c) The Court may order forfeiture as applicable and restitution as appropriate.

No promises have been made by any representative of the United States to the defendant as
to what the sentence will be in this case. Any estimates or predictions made to the defendant by
defense counsel or any other person regarding any potential sentence in this case are not binding on
the Court, and may not be used as a basis to rescind this plea agreement or withdraw the
defendant’s guilty plea(s). The defendant understands that the sentence in this case will be
determined by the Court after it receives the presentence report from the United States Probation
Office and any information presented by the parties. The defendant acknowledges that the
sentencing determination will be based upon the entire scope of the defendant's criminal conduct,
the defendant's criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

7. Given the defendant’s agreement to plead guilty, the United States will not oppose a
two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of the
Sentencing Guidelines. Further, if the defendant's offense level is 16 or greater, and the defendant
is awarded the two-level reduction pursuant to Section 3E1.1(a), the United States agrees to move,

at or before the time of sentencing, the Court to decrease the offense level by one additional level

pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant engage in any
conduct or make any statements that are inconsistent with accepting responsibility for the
defendant's offense(s), including violations of conditions of release or the commission of additional
offenses prior to sentencing, the United States will be free not to make such motion or to withdraw

such motion if already made, and will be free to recommend to the Court that the defendant not
receive any offense level reduction for acceptance of responsibility under Section 3E1.1 of the
Sentencing Guidelines.

8. The defendant agrees to pay the special assessment in this case prior to sentencing.

9. Financial Obligations. The defendant agrees to pay all fines and restitution imposed
by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or restitution
amount(s) shall be considered due and payable immediately. If the defendant cannot pay the full
amount immediately and is placed in custody or under the supervision of the Probation Office at
any time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the
authority to establish payment schedules to ensure payment of the fine and/or restitution. The
defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by
the Court by set-off of federal payments, execution on non-exempt property, and any other means
the United States deems appropriate. The defendant and counsel also agree that the defendant may
be contacted post-judgment regarding the collection of any financial obligation imposed by the
Court without notifying the defendant’s counsel and outside the presence of the defendant’s
counsel.
In order to facilitate the collection of financial obligations to be imposed with this prosecution, the
defendant agrees to disclose fully all assets in which the defendant has any interest or over which
the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or
other third party. In furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a)  Ifso requested by the United States, the defendant will promptly submit a

completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,
and truthful.

b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a credit
report on the defendant in order to evaluate the defendant’s ability to satisfy any financial obligation
imposed by the Court.

c)  Ifso requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attorney’s office to permit the U.S. Attorney’s Office
to obtain financial and tax records of the defendant.

10. (a) In consideration of the concessions made by the United States in this agreement
and as a further demonstration of the defendant’s acceptance of responsibility for the offense(s)
committed, the defendant agrees not to file a direct appeal of the defendant’s conviction(s) or
sentence except the defendant retains the right to appeal a sentence imposed above the sentencing
guideline range determined by the district court or above any mandatory minimum sentence deemed
applicable by the district court, whichever is greater.

(b) In addition, the defendant knowingly and voluntarily waives the right to file any
motions or pleadings pursuant to 28 U.S.C. § 2255 or to collaterally attack the defendant’s
conviction(s) and/or resulting sentence. The parties agree that the defendant retains the right to
raise, by way of collateral review under § 2255, claims of ineffective assistance of counsel or
prosecutorial misconduct not known to the defendant by the time of the entry of judgment.

11. This agreement becomes effective once it is signed by the parties and is not contingent
on the defendant’s entry of a guilty plea. If the United States violates the terms of this agreement,
the defendant will have the right to withdraw from this agreement. If the defendant violates the

terms of this agreement in any way (including but not limited to failing to enter guilty plea(s) as
agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any court order or any
local, state or federal law pending the resolution of this case), then the United States will have the
right to void any or all parts of the agreement and may also enforce whatever parts of the agreement
it chooses. In addition, the United States may prosecute the defendant for any and all federal crimes
that the defendant committed related to this case, including any charges that were dismissed and
any other charges which the United States agreed not to pursue. The defendant expressly waives
any statute of limitations defense and any constitutional or speedy trial or double jeopardy defense
to such a prosecution. The defendant also understands that a violation of this plea agreement by the
defendant does not entitle the defendant to withdraw the defendant’s guilty plea(s) in this case.

12. The United States will file a Supplement in this case, as is routinely done in every
case, even though there may or may not be any additional terms. If additional terms are included in
the Supplement, they are hereby fully incorporated herein.

13. This plea agreement and supplement constitute the full and complete agreement and
understanding between the parties concerning the defendant's guilty plea to the above-referenced
charge(s), and there are no other agreements, promises, undertakings, or understandings between
the defendant and the United States. The parties understand and agree that the terms of this plea
agreement can be modified only in writing signed by all of the parties and that any and all other
promises, representations, and statements whether made before, contemporaneous with, or after this

agreement, are null and void.
 

 

 

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WILLIAM C. KILLIAN
UNITED STATES ATTORNEY

 

Assistant United States Attorney

ANTHONY LAMONT SINGLETON
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